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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL

Case No. ED CV 20-0627-TJH(GJS) Date APRIL 14, 2020

 

 

Title Jose Robles Rodriguez et al v. Chad F. Wolf, et al

 

 

Present: The Honorable TERRY J. HATTER, JR., UNITED STATES DISTRICT JUDGE

 

 

 

YOLANDA SKIPPER NOT REPORTED
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

Proceedings: IINCHAMBERS-ORDER AND NOTICE TO ALL PARTIES

Counsel are hereby notified that pursuant to the Judge's directive, the parties shall file by 5:00 p.m.

on April 16, 2020, proposed Findings of Fact and Conclusions of Law for the submitted OSC re:
preliminary injunction.

IT IS SO ORDERED.

cc: all parties

 

CV-90 CIVIL MINUTES - GENERAL Initials of Deputy Clerk ys
